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               UNITED STATES DISTRICT COURT
         FOR THE EASTERN DISTRICT OF PENNSYLVANIA

DANNY ESPELETA,

               Plaintiff,
                                                        Case No.: 2:12-cv-6348-BMS
       v.

NCO FINANCIAL SYSTEMS, INC.,

               Defendant

                              STIPULATION TO DISMISS

TO THE CLERK:

       Pursuant to Rule 41.1 (b), counsel for all parties hereto stipulate to the dismissal

with prejudice without cost to either party.



  /S/ Ross S. Enders                                   /S/ Craig Thor Kimmel
   Ross S. Enders, Esquire                              Craig Thor Kimmel, Esquire
   Attorney ID # 89840                                  Attorney ID# 57100
   Sessions, Fishman, Nathan & Israel, LLC              Kimmel & Silverman, P.C.
   200 Route 31 North, Ste. 203                         30 E. Butler Pike
   Flemington, NJ 08822                                 Ambler, PA 19002
   Phone: (908) 751-5941                                Phone: (215) 540-8888
   Facsimile: (908) 751-5944                            Facsimile: (877) 788-2864
   Email: renders@sessions-law.biz                      Email: kimmel(a)creditlaw.com
   Attorney for the Defendant                           Attorney for the Plaintiff

   Date: January 28, 2013                              Date: January 28, 2013




                                                                      J.
